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                         UNITED STATES DISTRICT COURT FOR THE

                                EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                 )
                                          )
                              Plaintiff,  )                  No. 2:06-cr-425 LKK
                                          )
              v.                          )
                                          )                  DETENTION ORDER
Crystal Housley,                          )                  (Violation of Pretrial Release,
                                          )                  Probation or Supervised Release)
                              Defendant.  )
__________________________________________)

               After a hearing pursuant to 18 U.S.C. § 3148 (violation of pretrial release order), the court
               finds :
                           there is probable cause to believe the person has committed a federal,
                       state or local crime while on release and defendant has not rebutted the
                       presumption that his release will endanger another or the community or
                           there is clear and convincing evidence that defendant has violated
                       another condition of release and
                               ___ based on the factors set forth in 18 U.S.C. § 3142(g) there is no
                               condition or combination of conditions of release that will assure that the
                               defendant will not flee or pose a danger to the safety of another person or
                               the community or
                               ___ the person is unlikely to abide by any condition or combination of
                               conditions of release. F.R.Cr.P. 32.1(a)(D), 46(c), 18 U.S.C. § 3148.

        X      After a hearing pursuant to F.R.Cr.P. 32.1(a)(6) and 46(c) and 18 U.S.C. § 3143
               (violation of probation or supervised release) the court finds there is probable cause
               to believe defendant has violated a condition of probation or supervised release and
               defendant has not met his burden of establishing by clear and convincing evidence
               that he will not flee or pose a danger to another person or to the community. 18
               U.S.C. § 3143.

        IT IS ORDERED that pursuant to 18 U.S.C. § 3142(i)(2)-(4) defendant is committed to the
custody of the Attorney General for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded reasonable opportunity for private consultation with his counsel. Upon further
order of a court of the United States or request of an attorney for the United States the person in charge of
the corrections facility in which defendant is confined shall deliver defendant to a United States Marshal
for purpose of an appearance in connection with a court proceeding.

       DATED:       10/27/08
